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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

WSOU INVESTMENTS, LLC D/B/A          §
BRAZOS LICENSING AND                 §      CIVIL ACTION 6:20-cv-00454-ADA
DEVELOPMENT,                         §      CIVIL ACTION 6:20-cv-00455-ADA
          Plaintiff,                 §      CIVIL ACTION 6:20-cv-00456-ADA
                                     §      CIVIL ACTION 6:20-cv-00457-ADA
                                     §      CIVIL ACTION 6:20-cv-00458-ADA
                                     §      CIVIL ACTION 6:20-cv-00459-ADA
v.                                   §      CIVIL ACTION 6:20-cv-00460-ADA
                                     §      CIVIL ACTION 6:20-cv-00461-ADA
                                     §      CIVIL ACTION 6:20-cv-00462-ADA
                                     §      CIVIL ACTION 6:20-cv-00463-ADA
MICROSOFT CORPORATION,               §      CIVIL ACTION 6:20-cv-00464-ADA
         Defendant.                  §      CIVIL ACTION 6:20-cv-00465-ADA

                             SCHEDULING ORDER
Date                                     Item
September 18, 2020                       Case Management Conference

October 2, 2020                          Deadline for Motions to Transfer
(2 weeks after the CMC)
November 6, 2020                         Defendant serves preliminary invalidity
(7 weeks after the CMC)                  contentions in the form of (1) a chart setting
                                         forth where in the prior art references each
                                         element of the asserted claim(s) are found, (2)
                                         an identification of any limitations the
                                         Defendant contends are indefinite or lack
                                         written description under section 112, and (3)
                                         an identification of any claims the Defendant
                                         contends are directed to ineligible subject
                                         matter under section 101. Defendant shall
                                         also produce (1) all prior art referenced in the
                                         invalidity contentions, (2) technical
                                         documents, including software where
                                         applicable, sufficient to show the operation of
                                         the accused product(s), and (3) summary,
                                         annual sales information for the accused
                                         product(s) for the two years preceding the
                                         filing of the Complaint, unless the parties
                                         agree to some other timeframe.


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November 20, 2020                     Parties exchange claim terms for construction.
(9 weeks after the CMC)
December 4, 2020                      Parties exchange proposed claim
(11 weeks after the CMC)              constructions.

December 11, 2020                     Parties disclose extrinsic evidence. The
(12 weeks after the CMC)              parties shall disclose any extrinsic evidence,
                                      including the identity of any expert witness
                                      they may rely upon in their opening brief with
                                      respect to claim construction or
                                      indefiniteness. With respect to any expert
                                      identified, the parties shall identify the scope
                                      of the topics for the witness’s expected
                                      testimony. With respect to items of extrinsic
                                      evidence, the parties shall identify each such
                                      item by production number or produce a copy
                                      of any such item if not previously produced.
December 18, 2020                     Deadline to meet and confer to narrow terms
(13 weeks after the CMC)              in dispute and exchange revised list of
                                      terms/constructions.

January 8, 2021                       Parties file Opening claim construction briefs,
(16 weeks after the CMC)              including any arguments that any claim terms
                                      are indefinite.

January 22, 2021                      The parties shall disclose the identity of any
(18 weeks after the CMC)              rebuttal expert witness they may rely upon in
                                      their response brief with respect to claim
                                      construction or indefiniteness. With respect to
                                      any expert identified, the parties shall identify
                                      the scope of the topics for the witness’s
                                      expected testimony.

January 29, 2021                      Parties file Responsive claim construction
(19 weeks after the CMC)              briefs.

February 12, 2021                     Parties file Reply claim construction briefs.
(21 weeks after the CMC)
February 19, 2021                     Parties submit Joint Claim Construction
(22 weeks after CMC)                  Statement and provide copies of briefs to the
                                      Court.

                                      See General Issues Note #8 regarding
                                      providing copies of the briefing to the Court
                                      and the technical adviser (if appointed)


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February 25, 2021                        Parties submit option technical tutorials to the
(23 weeks after CMC)                     Court and technical advisor (if appointed).

March 4 – 5, 2021                        Markman hearing at 9:00 a.m.

March 8, 2021                            Fact Discovery opens; deadline to serve
(1 business day after Markman hearing)   Initial Disclosures per Rule 26(a).

April 16, 2021                           Deadline to add parties.
(6 weeks after Markman)
April 30, 2021                           Deadline to serve Final Infringement and
(8 weeks after Markman)                  Invalidity Contentions. After this date, leave
                                         of Court is required for any amendment to
                                         Infringement o Invalidity contentions. This
                                         deadline does not relieve the Parties of their
                                         obligation to seasonably amend if new
                                         information is identified after initial
                                         contentions.

June 24, 2021                            Deadline to amend pleadings. A motion is not
(16 weeks after Markman)                 required unless the amendment adds patents
                                         or patent claims. (Note: This includes
                                         amendments in response to a 12(c) motion.)
September 2, 2021                        Deadline for the first of two meet and confers
(26 weeks after Markman)                 to discuss significantly narrowing the number
                                         of claims asserted and prior art references at
                                         issue. Unless the parties agree to the
                                         narrowing, they are ordered to contact the
                                         Court’s Law Clerk to arrange a teleconference
                                         with the Court to resolve the disputed issues.

September 30, 2021                       Close of Fact Discovery.
(30 weeks after Markman)
October 7, 2021                          Opening Expert Reports.
(31 weeks after Markman)
November 4, 2021                         Rebuttal Expert Reports.
(35 weeks after Markman)
November 25, 2021                        Close of Expert Discovery.
(38 weeks after Markman)
December 2, 2021                         Deadline for he second of two meet and
(39 weeks after Markman)                 confers to discuss narrowing the number of
                                         claims asserted and prior art references at
                                         issue to triable limits. To the extent it helps
                                         the parties determine these limits, the parties
                                         are encouraged to contact the Court’s Law
                                         Clerk for an estimate of the amount of trial

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                                          time anticipated per side. The parties shall file
                                          a Joint Report within 5 business days
                                          regarding the results of the meet and confer.

 December 9, 2021                         Dispositive motion deadline and Daubert
 (40 weeks after Markman)                 motion deadline.

                                          See General Issues Note #8 regarding
                                          providing copies of the briefing to the Court
                                          and the technical adviser (if appointed).

 December 23, 2021                        Serve Pretrial Disclosures (jury instructions,
 (42 weeks after Markman)                 exhibit lists, witness lists, discovery and
                                          deposition designations).

 January 6, 2022                          Serve objections to pretrial
 (44 weeks after Markman)                 disclosures/rebuttal disclosures.

 January 13, 2022                         Serve objections to rebuttal disclosures and
 (45 weeks after Markman)                 file motions in limine.

 January 20, 2022                         File Joint Pretrial Order and Pretrial
 (46 weeks after Markman)                 Submissions (jury instructions, exhibit lists,
                                          witness lists, discovery and deposition
                                          designations); file oppositions to motions in
                                          limine.

 January 27, 2022                         File Notice of Request for Daily Transcript or
 (47 weeks after Markman)                 Real Time Reporting. If a daily transcript or
                                          real time reporting of court proceedings is
                                          requested for trial, the party or parties making
                                          said request shall file a notice with the Court
                                          and e-mail the Court Reporter, Kristie Davis
                                          at kmdaviscsr@yahoo.com.

                                          Deadline to meet and confer regarding
                                          remaining objections and disputes on motions
                                          in limine.

 February 7, 2022                         File joint notice identifying remaining
 (3 business days before Final Pretrial   objections to pretrial disclosures and disputes
 Conference)                              on motion in limine.

 February 10, 2022                        Final Pretrial Conference. The Court expects
 (49 weeks after Markman)                 to set this date at the conclusion of the
                                          Markman Hearing.

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 March 3, 2022                            Jury Selection/Trial. The Court expects to set
 (52 weeks after Markman)                 this date at the conclusion of the Markman
                                          Hearing.



            19th day of ______________,
SIGNED this _____        October        2020


                                               ____________________________________
                                               ALAN D ALBRIGHT
                                               UNITED STATES DISTRICT JUDGE




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